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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

                                                        1:22-cv-3116
 KEVIN McCABE,

                                 Plaintiff,             COMPLAINT

                  -against-

 CVS HEALTH CORPORATION,

                                 Defendant.


                                              PARTIES

       1.      Plaintiff, Kevin McCabe (“McCabe”), resides in the Eastern District of New York and

is a citizen of the State of New York.

       2.      Defendant, CVS Health Corporation (“CVS”), is a corporation organized and existing

under the laws of Delaware, and maintains its principal place of business at One CVS Drive,

Woonsocket, Rhode Island 02895.

                                 JURISDICTION AND VENUE

       3.      This Court has jurisdiction under 28 U.S.C. Section 1332(d)(2)(A).

       4.      The matter in controversy would exceed an aggregated sum or value of $5,000,000,

exclusive of interest and costs, if the putative class (described below) were certified.

       5.      Venue is proper in this District pursuant to 28 U.S.C. Section 1391(b)(2).

       6.      At least two thirds of the members of the putative class are not citizens of the State

of New York.

                                                                           [continued on next page]




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                                             FACTS

       7.       From November 2, 2021, through November 27, 2021, CVS conducted a campaign

(the “Campaign”) in which, prior to the completion of transactions at its nearly ten thousand stores

in the 50 States and the District of Columbia, customers were asked on the checkout screen if they

wished, as part of the checkout process, to make a donation, above and beyond the price of their

purchase, to the American Diabetes Association (“ADA”).

       8.       The only term of the Campaign that CVS provided to customers was a representation

on the checkout screen that the customer could make a donation to the ADA (a “Campaign

Donation”) by tapping one of several boxes on the checkout screen, each of which contained a pre-

selected amount, or that the customer could tap a box stating “no” with respect to making a

Campaign Donation (the “Checkout Message”).

       9.       The Checkout Message represented that CVS was merely collecting Campaign

Donations and forwarding them to the ADA.

       10.      The Checkout Message was a material element of the Campaign.

       11.      CVS intended that customers would rely upon the Checkout Message in deciding

whether to make a Campaign Donation.

       12.      Customers had no reason to believe that the Checkout Message was anything but true

and accurate.

       13.      CVS did not merely collect customers’ Campaign Donations and forward them to the

ADA, but, instead, counted Campaign Donations toward the satisfaction of a legally binding

obligation, which CVS had made to the ADA, to donate $10 million to the ADA during the three-

year period of 2021 through 2023 (the “CVS Obligation”).

       14.      CVS necessarily used Campaign Donations to reimburse itself, or pay down its debt,

with respect to the CVS Obligation.

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       15.       CVS’s treatment of, and benefit from, Campaign Donations were materially different

than the false, deceptive, and misleading representation that CVS had given to its customers, which

was that CVS was merely collecting Campaign Donations and forwarding them to the ADA.

       16.       On or about November 15, 2021, McCabe made a Campaign Donation at the CVS

store located at 1933 Victory Boulevard, Staten Island, New York 10314.

                             INTENTION TO REPRESENT A CLASS

       17.       McCabe intends to seek the certification of a class (the “Putative Class”) pursuant to

Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure.

       18.       The Putative Class comprises McCabe and all other persons who made a Campaign

Donation.

       19.       There are thousands of other members of the Putative Class whose claims would be

similar to McCabe’s claims; and, furthermore, McCabe’s claims are typical of those claims.

       20.       The members of the Putative Class are so numerous that joinder of all of them is

impracticable.

       21.       McCabe would fairly and adequately protect the interests of the other members of the

Putative Class. McCabe’s interests would be, for purposes of this litigation, coincident with the

interests of the other members of the Putative Class, and McCabe would have no interests that would

be antagonistic to, or in conflict with, the other members of the Putative Class.

       22.       A class action would be superior to all other available methods for the fair and efficient

adjudication of this controversy. Because the Putative Class is so numerous that joinder of all of its

members would be impracticable, and because the damages sustained by most of the individual

members would be too small to render prosecution of the claims asserted herein economically feasible

on an individual basis, the expense and burden of individual litigation would make it impractical for

all of the members to adequately address the wrongs complained of herein. McCabe knows of no

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impediments to the effective management of this action as a class action.

       23.     Common questions of law and fact predominate over questions that affect only

individual Class Members. Among these questions are:

       (i) whether CVS conducted the Campaign;

       (ii) whether, when a customer checked out of a CVS store during Campaign, he was asked

       on the checkout screen if he wished, as part of the checkout process, to make a Campaign

       Donation;

       (iii) whether the only term of the Campaign that was provided was the Checkout Message;

       (iv) whether the Checkout Message represented that CVS was merely collecting Campaign

       Donation and forwarding them to the ADA;

       (v) whether the Checkout Message was material to the Campaign;

       (vi) whether CVS intended that customers would rely upon the Checkout Message in deciding

       whether to make a Campaign Donation;

       (vii) whether customers had any reason to believe that the Checkout Message was anything

       other than true and accurate;

       (viii) whether, prior to the Campaign, CVS had made a legally binding commitment to donate

       $10 million to the ADA during the three-year period of 2021 through 2023;

       (ix) whether CVS counted Campaign Donations toward CVS’s satisfaction of the CVS

       Obligation;

       (x) whether CVS used Campaign Donations to reimburse itself, or pay down its debt, with

       respect to the CVS Obligation;

       (xi) whether CVS’s treatment of, and benefit from, Campaign Donations was materially

       different than that which CVS had represented to its customers, which was that CVS was

       merely collecting Campaign Donations and forwarding them to the ADA;

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       (xii) whether CVS engaged in common-law fraud; and

       (xiii) whether CVS violated the consumer-protection statutes that compose the Second Claim

       for Relief.

                                     CLAIMS FOR RELIEF

       24.     McCabe incorporates, into each Claim for Relief, each and every allegation contained

in paragraphs “1” through “16.”

                                         FIRST CLAIM

                                      [Common-Law Fraud]

       25.      CVS engaged in fraud under the common law of the 50 States and the District of

Columbia.

       26.     As a result of CVS’s fraud, McCabe and the other members of the Putative Class are

entitled to actual damages.

                                         SECOND CLAIM

                          [Violations of Consumer-Protection Laws]

                                           ALABAMA

                     ALABAMA DECEPTIVE TRADE PRACTICES ACT

                                  (Ala. Code §§ 8-19-1 - 8-19-15)

       27.     CVS violated the Alabama Deceptive Trade Practices Act, Ala. Code §§ 8-19-1 - 8-

19-15, with respect to persons who made Campaign Donations in Alabama (the “Putative Alabama

Class Members”); specifically, CVS violated Ala. Code § 8-19-5(27).

       28.     The Putative Alabama Class Members are entitled to statutory damages of $100

pursuant to Ala. Code § 8-19-10(a)(1).

       29.     The Putative Alabama Class Members are entitled to reasonable legal fees pursuant

to Ala. Code § 8-19-10(a)(3).

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                                             ALASKA

                          ALASKA UNFAIR TRADE PRACTICES
                          AND CONSUMER PROTECTION ACT

                               (Alaska Stat. §§ 45.50.471 - 45.50.561)

       30.     CVS violated the Alaska Unfair Trade Practices and Consumer Protection Act, Alaska

Stat. §§ 45.50.471 - 45.50.561, with respect to persons who made Campaign Donations in Alaska

(the “Putative Alaska Class Members”); specifically, CVS violated Alaska Stat. § 45.50.471(b)(11).

       31.     The Putative Alaska Class Members are entitled to statutory damages of $500

pursuant to Alaska Stat. § 45.50.531(a).

       32.     The Putative Alaska Class Members are entitled to an order enjoining CVS’s unlawful

practices pursuant to Alaska Stat. § 45.50.535(a).

       33.     The Putative Alaska Class Members are entitled to reasonable legal fees pursuant to

Alaska Stat. § 45.50.537(a).

                                           ARKANSAS

                   ARKANSAS DECEPTIVE TRADE PRACTICES ACT

                           (Ark. Code Ann. §§ 4-88-101 - 4-88-117)

       36.     CVS violated the Arkansas Deceptive Trade Practices Act, Ark. Code Ann. §§

4-88-101 - 4-88-117, with respect to persons who made Campaign Donations in Arkansas (the

“Putative Arkansas Class Members”); specifically, CVS violated Ark. Code Ann. §§ 4-88-107(a)(10).

       37.     The Putative Arkansas Class Members are entitled to actual damages pursuant to Ark.

Code Ann. § 4-88-113(f)(1)(a).

       38.     The Putative Arkansas Class Members are entitled to reasonable legal fees pursuant

to Ark. Code Ann. § 4-88-113(f)(3).




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                                         CALIFORNIA

                    THE CALIFORNIA UNFAIR COMPETITION ACT

                          (Calif. Bus & Prof. Code §§ 17200 - 17210)

       39.     CVS violated the California Unfair Competition Act, Calif. Bus & Prof. Code §§

17200 - 17210, with respect to persons who made Campaign Donations in California (the “Putative

California Class Members”); specifically, CVS violated Calif. Bus & Prof. Code § 17200.

       40.     The Putative California Class Members are entitled to actual damages against CVS

pursuant to Calif. Bus & Prof. Code § 17203.

       41.     The Putative California Class Members are entitled to an order enjoining CVS’s

unlawful practices pursuant to Calif. Bus & Prof. Code § 17203.

       42.     The Putative California Class Members are entitled to reasonable legal fees pursuant

to Calif. Code Civ. Proc. § 1021.5.

                                        CONNECTICUT

                THE CONNECTICUT UNFAIR TRADE PRACTICES ACT

                           (Conn. Gen. Stat. §§ 42-110a - 42-110q)

       43.     CVS violated the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. §§

42-110a - 42-110q, with respect to persons who made Campaign Donations in Connecticut (the

“Putative Connecticut Class Members”); specifically, CVS violated Conn. Gen. Stat. §§ 42-110b(a).

       44.     The Putative Connecticut Class Members are entitled to their actual damages pursuant

to Conn. Gen. Stat. § 42-110g(a).

       45.     The Putative Connecticut Class Members are entitled to an order enjoining CVS’s

unlawful practices pursuant to Conn. Gen. Stat. § 42-110g(d).

       46.     The Putative Connecticut Class Members are entitled to reasonable legal fees pursuant

to Conn. Gen. Stat. § 42-110g(d).

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                                          DELAWARE

                         THE DELAWARE CONSUMER FRAUD ACT

                                  (6 Del. Code §§ 2511 - 2528)

       47.     CVS violated the Delaware Consumer Fraud Act, 6 Del. Code §§ 2511 - 2528, with

respect to persons who made Campaign Donations in Delaware (the “Putative Delaware Class

Members”); specifically, CVS violated 6 Del. Code § 2513(a).

       48.     The Putative Delaware Class Members are entitled to actual damages pursuant to Del.

Code § 2525(a).

                                 DISTRICT OF COLUMBIA

                         THE DISTRICT OF COLUMBIA CONSUMER
                             PROTECTION PROCEDURES ACT

                                 (D.C. Code §§ 28-3901 - 3913)

       49.     CVS violated the District of Columbia Consumer Protection Procedures Act, D.C.

Code §§ 28-3901 - 3913, with respect to persons who made Campaign Donations in District of

Columbia (the “Putative District of Columbia Class Members”); specifically, CVS violated D.C. Code

§§ 28-3904(e) and (f).

       50.     The Putative District of Columbia Class Members are entitled to statutory damages

of $1,500 pursuant to D.C. Code § 28-3901(k)(2)(A)(i).

       51.     The Putative District of Columbia Class Members are entitled to an order enjoining

CVS’s unlawful practices pursuant to D.C. Code § 28-3901(k)(2)(D).

       52.     The Putative District of Columbia Class Members are entitled to reasonable legal fees

pursuant to D.C. Code § 28-3901(k)(2)(B).




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                                            FLORIDA

             FLORIDA UNFAIR AND DECEPTIVE TRADE PRACTICES ACT

                                (Fla. Stat. §§ 501.201 - 501.213)

       53.     CVS violated the Florida Unfair and Deceptive Trade Practices Act, Fla. Stat. §§

501.201 - 501.213, with respect to persons who made Campaign Donations in Florida (the “Putative

Florida Class Members”); specifically, CVS violated Fla. Stat. § 501.204(1).

       54.     The Putative Florida Class Members are entitled to actual damages pursuant to Fla.

Stat. § 501.211(2).

       55.     The Putative Florida Class Members are entitled to an order enjoining CVS’s unlawful

practices pursuant to Fla. Stat. § 501.211(1).

       56.     The Putative Florida Class Members are entitled to reasonable legal fees pursuant to

Fla. Stat. § 501.2105(1).

                                            GEORGIA

                       GEORGIA FAIR BUSINESS PRACTICES ACT

                            (Ga. Code Ann. §§ 10-1-390 - 10-1-408)

       57.     CVS violated the Georgia Fair Business Practices Act, Ga. Code Ann. §§ 10-1-390 -

10-1-408, with respect to persons who made Campaign Donations in Georgia (the “Putative Georgia

Class Members”); specifically, CVS violated Ga. Code Ann. §§ 10-1-393(a).

       58.     The Putative Georgia Class Members are entitled to actual damages pursuant to Ga.

Code. Ann. § 10-1-399(a).

       59.     The Putative Georgia Class Members are entitled to an order enjoining CVS’s

unlawful practices pursuant to Ga. Code. Ann. § 10-1-399(a).

       60.     The Putative Georgia Class Members are entitled to reasonable legal fees pursuant to

Ga. Code. Ann. § 10-1-399(d).

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                                              HAWAII

                           PROHIBITION AGAINST UNFAIR AND
                            DECEPTIVE ACTS OR PRACTICES

                               (Haw. Rev. Stat. §§ 480-1 - 480-24)

        61.     CVS violated Hawaii’s prohibition against unfair and deceptive acts or practices, Haw.

 Rev. Stat. §§ 480-1 - 480-24, with respect to persons who made Campaign Donations in District of

 Columbia (the “Putative District of Columbia Class Members”); specifically, CVS violated Haw. Rev.

 Stat. § 480-2(a).

        62.     The Putative Hawaii Class Members are entitled to statutory damages of $1,000

 pursuant to Haw. Rev. Stat. § 480-13(b)(1).

        63.     The Putative Hawaii Class Members are entitled to an order enjoining CVS’s unlawful

 practices pursuant to Haw. Rev. Stat. § 480-13(b)(2).

        64.     The Putative Hawaii Class Members are entitled to reasonable legal fees pursuant to

 Haw. Rev. Stat. § 480-13(b)(1).

                                             ILLINOIS

                            ILLINOIS CONSUMER FRAUD AND
                          DECEPTIVE BUSINESS PRACTICES ACT

                                   (815 ILCS §§ 505/1 - 505/12)

        65.     CVS violated the Illinois Consumer Fraud and Deceptive Business Practices Act, 815

 ILCS §§ 505/1 - 505/1, with respect to persons who made Campaign Donations in Illinois (the

 “Putative Illinois Class Members”); specifically, CVS violated 815 ILCS 505/2.

        66.     The Putative Illinois Class Members are entitled to actual damages pursuant to 815

 ILCS 505/10a(a).

        67.     The Putative Illinois Class Members are entitled to an order enjoining CVS’s unlawful

 practices pursuant to 815 ILCS 505/10a(c).

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        68.    The Putative Illinois Class Members are entitled to reasonable legal fees pursuant to

 815 ILCS 505/10a(c).

                                            INDIANA

                     INDIANA DECEPTIVE CONSUMER SALES ACT

                         (Ind. Code Ann. §§ 24–5–0.5–0.1 - 24–5–0.5–12)

        69.    CVS violated the Indiana Deceptive Consumer Sales Act, Ind. Code Ann. §§

 24–5–0.5–0.1 - 24–5–0.5–12, with respect to persons who made Campaign Donations in Indiana (the

 “Putative Indiana Class Members”); specifically, CVS violated Ind. Code Ann. § 24-5-0.5-3(a).

        70.    The Putative Indiana Class Members are entitled to statutory damages of $500

 pursuant to Ind. Code § 24-5-0.5-4(a).

        71.    The Putative Indiana Class Members are entitled to reasonable legal fees pursuant to

 Ind. Code Ann. § 24-5-0.5-4(a).

                                              IOWA

                               IOWA CONSUMER FRAUD ACT

                              (Iowa Code Ann. §§ 714h.1 - 714h.8)

        72.    CVS violated the Iowa Consumer Protection Act, Iowa Code Ann. §§ 714h.1 -

 714h.8, with respect to persons who made Campaign Donations in Iowa (the “Putative Iowa Class

 Members”); specifically, CVS violated Iowa Code Ann. § 714h.3(1).

        73.    The Putative Iowa Class Members are entitled to actual damages pursuant to Iowa

 Code Ann. § 714h.5(1)

        74.    The Putative Iowa Class Members are entitled to an order enjoining CVS’s unlawful

 practices pursuant to Iowa Code Ann. § 714h.5(1)

        75.    The Putative Iowa Class Members are entitled to reasonable legal fees pursuant to to

 Iowa Code Ann. § 714h.5(2).

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                                             KANSAS

                         KANSAS CONSUMER PROTECTION ACT

                              (Kan. Stat. Ann. §§ 50-623 - 50-643)

        76.     CVS violated the Kansas Consumer Protection Act, Kan. Stat. Ann. §§ 50-623 -

 50-643, with respect to persons who made Campaign Donations in Kansas (the “Putative Kansas

 Class Members”); specifically, CVS violated Kan. Stat. Ann. §§ 50-636(b)(2) and (3).

        77.     The Putative Kansas Class Members are entitled to statutory damages of $10,000

 pursuant to Kan. Stat. Ann. § 50-634(b).

        78.     The Putative Kansas Class Members are entitled to an order enjoining CVS’s unlawful

 practices pursuant to Kan. Stat. Ann. § 50-634(a)(2).

        79.     The Putative Kansas Class Members are entitled to reasonable legal fees pursuant to

 Kan. Stat. Ann. § 50-634(e)(1).

                                            LOUISIANA

                         LOUISIANA UNFAIR TRADE PRACTICES
                          AND CONSUMER PROTECTION LAW

                              (La. Rev. Stat. §§ 51:1401 - 51:1430)

        80.     CVS violated the Louisiana Unfair Trade Practices and Consumer Protection Law,

 La. Rev. Stat. §§ 51:1401 - 51:1430, with respect to persons who made Campaign Donations in

 Louisiana (the “Putative Louisiana Class Members”); specifically, CVS violated La. Rev. Stat. §

 51:1405(A).

        81.     The Putative Louisiana Class Members are entitled to actual damages pursuant to La.

 Rev. Stat. § 51:1409(A).

        82.     The Putative Louisiana Class Members are entitled to reasonable legal fees pursuant

 to La. Rev. Stat. § 51:1409(A).


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                                         MARYLAND

                      MARYLAND CONSUMER PROTECTION ACT

                           (Md. Code Com. Law §§ 13-101 - 13-501)

        83.    CVS violated the Maryland Consumer Protection Act, Md. Code Com. Law §§

 13-101 - 13-501, with respect to persons who made Campaign Donations in Maryland (the “Putative

 Maryland Class Members”); specifically, CVS violated Md. Code Com. Law § 13-101(1), (3).

        84.    The Putative Maryland Class Members are entitled to actual damages pursuant to Md.

 Code Com. Law §§ 13-408(a).

        85.    The Putative Maryland Class Members are entitled to reasonable legal fees pursuant

 to Md. Code Com. Law §§ 13-408(b).

                                     MASSACHUSETTS

                   MASSACHUSETTS CONSUMER PROTECTION ACT

                              (Mass. Gen. Laws Ch. 93a, §§ 1-11)

        86.    CVS violated the Massachusetts Consumer Protection Act, Mass. Gen. Laws Ch. 93a,

 §§ 1-11, with respect to persons who made Campaign Donations in Massachusetts (the “Putative

 Massachusetts Class Members”); specifically, CVS violated Mass. Gen. Laws Ch. 93a, § 2(a).

        87.    The Putative Massachusetts Class Members are entitled to statutory damages of $25

 pursuant to Mass. Gen. Laws Ch. 93a, § 9(3).

        88.    The Putative Massachusetts Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to Mass. Gen. Laws Ch. 93a, § 9(3).

        89.    The Putative Massachusetts Class Members are entitled to reasonable legal fees

 pursuant to Mass. Gen. Laws Ch. 93a, § 9(4).




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                                           MICHIGAN

                        MICHIGAN CONSUMER PROTECTION ACT

                             (Mich. Comp. Laws §§ 445.901 - 445.922)

        90.     CVS violated the Michigan Consumer Protection Act, Mich. Comp. Laws §§ 445.901

 - 445.922, with respect to persons who made Campaign Donations in Michigan (the “Putative

 Michigan Class Members”); specifically, CVS violated Mich. Comp. Laws § 445.903(1)(s).

        91.     The Putative Michigan Class Members are entitled to statutory damages of $5,000

 pursuant to Mich. Comp. Laws § 445.911(3).

        92.     The Putative Michigan Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to Mich. Comp. Laws § 445.911(1)(b).

        93.     The Putative Michigan Class Members are entitled to reasonable legal fees pursuant

 to Mich. Comp. Laws § 445.911(3).

                                          MINNESOTA

                MINNESOTA PREVENTION OF CONSUMER FRAUD ACT

                                (Minn. Stat. §§ 325f.68 - 325f.694)

        94.     CVS violated the Minnesota Prevention of Consumer Fraud Act, Minn. Stat. §§

 325f.68 - 325f.694, with respect to persons who made Campaign Donations in Michigan (the

 “Putative Minnesota Class Members”); specifically, CVS violated Minn. Stat. §§ 325f.69(1).

        95.     The Putative Minnesota Class Members are entitled to actual damages pursuant to

 Minn. Stat. § 8.31(3)(a).

        96.     The Putative Minnesota Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to Minn. Stat. § 8.31(3)(a).

        97.     The Putative Minnesota Class Members are entitled to reasonable legal fees pursuant

 to Minn. Stat. § 8.31(3)(a).

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                                           MONTANA

                          MONTANA UNFAIR TRADE PRACTICES
                           AND CONSUMER PROTECTION ACT

                          (Mont. Code Ann. §§ 30-14-101 - 30-14-157)

        98.     CVS violated the Montana Unfair Trade Practices and Consumer Protection Act,

 Mont. Code Ann. §§ 30-14-101 - 30-14-157, with respect to persons who made Campaign Donations

 in Montana (the “Putative Montana Class Members”); specifically, CVS violated Mont. Code Ann.

 § 30-14-103.

        99.     The Putative Montana Class Members are entitled to statutory damages of $500

 pursuant to Mont. Code Ann. § 30-14-133(1)(a).

        100.    The Putative Montana Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to Mont. Code Ann. § 30-14-133(1)(a).

        101.    The Putative Montana Class Members are entitled to reasonable legal fees pursuant

 to Mont. Code Ann. § 30-14-133(3).

                                          NEBRASKA

                         NEBRASKA CONSUMER PROTECTION ACT

                             (Neb. Rev. Stat. §§ 59-1601 - 59-1623)

        102.    CVS violated the Nebraska Consumer Protection Act, Neb. Rev. Stat. §§ 59-1601 -

 59-1623, with respect to persons who made Campaign Donations in Nebraska (the “Putative

 Nebraska Class Members”); specifically, CVS violated Neb. Rev. Stat. § 59-1602.

        103.    The Putative Nebraska Class Members are entitled to actual damages pursuant to Neb.

 Rev. Stat. § 59-1609.

        104.    The Putative Nebraska Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to Neb. Rev. Stat. § 59-1609.


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        105.    The Putative Nebraska Class Members are entitled to reasonable legal fees pursuant

 to Neb. Rev. Stat. § 59-1609.

                                            NEVADA

                     NEVADA DECEPTIVE TRADE PRACTICES ACT

                              (Nev. Rev. Stat. §§ 598.0903 - 598.0999)

        106.    CVS violated the Nevada Deceptive Trade Practices Act, Nev. Rev. Stat. §§ 598.0903

 - 598.0999, with respect to persons who made Campaign Donations in Nevada (the “Putative Nevada

 Class Members”); specifically, CVS violated Nev. Rev. Stat. § 598.0915(15).

        107.    The Putative Nevada Class Members are entitled to actual damages pursuant to Nev.

 Rev. Stat. § 41.600(3)(a).

        108.    The Putative Nevada Class Members are entitled to an order enjoining CVS’s unlawful

 practices pursuant to Nev. Rev. Stat. § 41.600(3)(b).

        109.    The Putative Nevada Class Members are entitled to reasonable legal fees pursuant to

 Nev. Rev. Stat. § 41.600(3)(c).

                                       NEW HAMPSHIRE

                   NEW HAMPSHIRE CONSUMER PROTECTION ACT

                          (N.H. Rev. Stat. Ann. §§ 358-A:1 - 358-A:13)

        110.    CVS violated the New Hampshire Consumer Protection Act, N.H. Rev. Stat. Ann.

 §§ 358-A:1 - 358-A:13, with respect to persons who made Campaign Donations in New Hampshire

 (the “Putative New Hampshire Class Members”); specifically, CVS violated N.H. Rev. Stat. Ann. §

 358-A:2.

        111.    The Putative New Hampshire Class Members are entitled to statutory damages of

 $1,000 pursuant to N.H. Rev. Stat. Ann. § 358-A:10(I).

        112.    The Putative New Hampshire Class Members are entitled to an order enjoining CVS’s

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 unlawful practices pursuant to N.H. Rev. Stat. Ann. § 358-A:10(I).

        113.    The Putative New Hampshire Class Members are entitled to reasonable legal fees

 pursuant to N.H. Rev. Stat. Ann. § 358-A:10(I).

                                            NEW JERSEY

                          NEW JERSEY CONSUMER FRAUD ACT

                                 (N.J. Stat. Ann. §§ 56:8-1 - 56:8-227)

        114.    CVS violated the New Jersey Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8-1 -

 56:8-227, with respect to persons who made Campaign Donations in New Jersey (the “Putative New

 Jersey Class Members”); specifically, CVS violated N.J. Stat. Ann. § 56:8-2.

        115.    The Putative New Jersey Class Members are entitled to threefold actual damages

 pursuant to N.J. Stat. Ann. § 56:8-19.

        116.    The Putative New Jersey Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to N.J. Stat. Ann. § 56:8-19.

        117.    The Putative New Jersey Class Members are entitled to reasonable legal fees pursuant

 to N.J. Stat. Ann. § 56:8-19.

                                           NEW MEXICO

                          NEW MEXICO UNFAIR PRACTICES ACT

                             (N.M. Stat. Ann. §§ 57-12-1- 57-12-26)

        118.    CVS violated the New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-12-1-

 57-12-26, with respect to persons who made Campaign Donations in New Mexico (the “Putative

 New Mexico Class Members”); specifically, CVS violated N.M. Stat. Ann. § 57-12-3.

        119.    The Putative New Mexico Class Members are entitled to statutory damages of $100

 pursuant to N.M. Stat. Ann. § 57-12-10(B).

        120.    The Putative New Mexico Class Members are entitled to an order enjoining CVS’s

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 unlawful practices pursuant to N.M. Stat. Ann. § 57-12-10(A).

        121.    The Putative New Mexico Class Members are entitled to reasonable legal fees

 pursuant to N.M. Stat. Ann. § 57-12-10(C).

                                          NEW YORK

                       NEW YORK GENERAL BUSINESS LAW § 349

                                   (N.Y. Gen. Bus. Law § 349)

        122.    CVS violated the N.Y. Gen. Bus. Law § 349, with respect to persons who made

 Campaign Donations in New York (the “Putative New York Class Members”); specifically, CVS

 violated N.Y. Gen. Bus. Law § 349(a).

        123.    The Putative New York Class Members are entitled to statutory damages of $50

 pursuant to N.Y. Gen. Bus. Law § 349(h).

        124.    The Putative New York Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to N.Y. Gen. Bus. Law § 349(h).

        125.    The Putative New York Class Members are entitled to reasonable legal fees pursuant

 to N.Y. Gen. Bus. Law § 349(h).

                                      NORTH CAROLINA

                            NORTH CAROLINA UNFAIR AND
                           DECEPTIVE TRADE PRACTICES ACT

                             (N.C. Gen. Stat. Ann. §§ 75-1 - 75-43)

        126.    CVS violated the North Carolina Unfair And Deceptive Trade Practices Act, N.C.

 Gen. Stat. Ann.§§ 75-1 - 75-43, with respect to persons who made Campaign Donations in North

 Carolina (the “Putative North Carolina Class Members”); specifically, CVS violated N.C. Gen. Stat.

 Ann.§ 75-1.1(a).

        127.    The Putative North Carolina Class Members are entitled to treble actual damages


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 pursuant to N.C. Gen. Stat. Ann.§ 75-16.

        128.   The Putative North Carolina Class Members are entitled to reasonable legal fees

 pursuant to N.C. Gen. Stat. Ann.§ 75-16.1(1).

                                      NORTH DAKOTA

                           NORTH DAKOTA UNLAWFUL SALES
                           OR ADVERTISING PRACTICES ACT

                           (N.D. Cent. Code §§ 51-15-01- 51-15-12)

        129.   CVS violated the North Dakota Unlawful Sales or Advertising Practices Act, N.D.

 Cent. Code §§ 51-15-01- 51-15-12, with respect to persons who made Campaign Donations in North

 Dakota (the “Putative North Dakota Class Members”); specifically, CVS violated N.D. Cent. Code

 § 51-15-02.

        130.   The Putative North Dakota Class Members are entitled to actual damages pursuant

 to N.D. Cent. Code § 51-15-09.

        131.   The Putative North Dakota Class Members are entitled to reasonable legal fees

 pursuant to N.D. Cent. Code § 51-15-09.

                                             OHIO

                       OHIO CONSUMER SALES PRACTICES ACT

                            (Ohio Rev. Code §§ 1345.01 - 1345.13)

        132.   CVS violated the Ohio Consumer Sales Practices Act, Ohio Rev. Code §§ 1345.01 -

 1345.13, with respect to persons who made Campaign Donations in Ohio (the “Putative Ohio Class

 Members”); specifically, CVS violated Ohio Rev. Code § 1345.02(A).

        133.   The Putative Ohio Class Members are entitled to actual damages pursuant to Ohio

 Rev. Code § 1345.09(A).

        134.   The Putative Ohio Class Members are entitled to an order enjoining CVS’s unlawful


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 practices pursuant to Ohio Rev. Code § 1345.09(D).

        135.    The Putative Ohio Class Members are entitled to reasonable legal fees pursuant to

 Ohio Rev. Code § 1345.09(F)(2).

                                          OKLAHOMA

                      OKLAHOMA CONSUMER PROTECTION ACT

                                (15 Okla. St. Ann. §§ 751 - 764.1)

        136.    CVS violated the Oklahoma Consumer Protection Act, 15 Okla. St. Ann. §§ 751 -

 764.1, with respect to persons who made Campaign Donations in Oklahoma (the “Putative Oklahoma

 Class Members”); specifically, CVS violated 15 Okla. St. Ann. § 753(20).

        137.    The Putative Oklahoma Class Members are entitled to actual damages pursuant to 15

 Okla. St. Ann. § 761.1(A).

        138.    The Putative Oklahoma Class Members are entitled to reasonable legal fees pursuant

 to 15 Okla. St. Ann. § 761.1(A).

                                             OREGON

                     OREGON UNLAWFUL TRADE PRACTICES ACT

                              (Ore. Rev. Stat. §§ 646.605 - 646.691)

        139.    CVS violated the Oregon Unlawful Trade Practices Act, Ore. Rev. Stat. §§ 646.605 -

 646.691, with respect to persons who made Campaign Donations in Oregon (the “Putative Oregon

 Class Members”); specifically, CVS violated Ore. Rev. Stat. § 646.607(1).

        140.    The Putative Oregon Class Members are entitled to statutory damages of $200

 pursuant to Ore. Rev. Stat. § 646.638(1).

        141.    The Putative Oregon Class Members are entitled to an order enjoining CVS’s unlawful

 practices pursuant to Ore. Rev. Stat. § 646.638(1).

        142.    The Putative Oregon Class Members are entitled to reasonable legal fees pursuant to

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 Ore. Rev. Stat. § 646.638(3).

                                      SOUTH CAROLINA

                 SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT

                            (S.C. Code Ann. §§ 39-5-10 - 39-5-180)

        143.   CVS violated the South Carolina Unfair Trade Practices Act, S.C. Code Ann. §§

 39-5-10 - 39-5-180, with respect to persons who made Campaign Donations in South Carolina (the

 “Putative South Carolina Class Members”); specifically, CVS violated S.C. Code Ann. § 39-5-20(a).

        144.   The Putative South Carolina Class Members are entitled to actual damages pursuant

 to S.C. Code Ann. § 39-5-140(a).

        145.   The Putative South Carolina Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to S.C. Code Ann. § 39-5-140(a).

        146.   The Putative South Carolina Class Members are entitled to reasonable legal fees

 pursuant to S.C. Code Ann. § 39-5-140(a).

                                       SOUTH DAKOTA

                        SOUTH DAKOTA DECEPTIVE TRADE
                    PRACTICES AND CONSUMER PROTECTION ACT

                          (S.D. Codified Laws §§ 37-24-1 - 37-24-58)

        147.   CVS violated the South Dakota Deceptive Trade Practices and Consumer Protection

 Act, S.D. Codified Laws §§ 37-24-1 - 37-24-58, with respect to persons who made Campaign

 Donations in South Dakota (the “Putative South Dakota Class Members”); specifically, CVS violated

 S.D. Codified Laws § 37-24-6(1).

        148.   The Putative South Dakota Class Members are entitled to actual damages pursuant

 to S.D. Codified Laws § 37-24-31.




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                                         TENNESSEE

                      TENNESSEE CONSUMER PROTECTION ACT

                         (Tenn. Code Ann. §§ 47-18-101 - 47-18-132)

        149.   CVS violated the Tennessee Consumer Protection Act, Tenn. Code Ann. §§

 47-18-101 - 47-18-132, with respect to persons who made Campaign Donations in Tennessee (the

 “Putative Tennessee Class Members”); specifically, CVS violated Tenn. Code Ann. § 47-18-104(a).

        150.   The Putative Tennessee Class Members are entitled to actual damages pursuant to

 Tenn. Code Ann. § 47-18-109(a)(1).

        151.   The Putative Tennessee Class Members are entitled to an order enjoining CVS’s

 unlawful practices pursuant to Tenn. Code Ann. § 47-18-109(a)(3).

        152.   The Putative Tennessee Class Members are entitled to reasonable legal fees pursuant

 to Tenn. Code Ann. § 47-18-109(e)(1).

                                            TEXAS

                         TEXAS DECEPTIVE TRADE PRACTICES
                          ACT – CONSUMER PROTECTION ACT

                          (Tex. Bus. & Com. Code §§ 17.41 - 17.63)

        153.   CVS violated the Texas Deceptive Trade Practices Act – Consumer Protection Act,

 Tex. Bus. & Com. Code §§ 17.41 - 17.63, with respect to persons who made Campaign Donations

 in Texas (the “Putative Texas Class Members”); specifically, CVS violated Tex. Bus. & Com. Code

 § 17.46(a).

        154.   The Putative Texas Class Members are entitled to actual damages pursuant to Tex.

 Bus. & Com. Code § 17.50(b)(1).

        155.   The Putative Texas Class Members are entitled to an order enjoining CVS’s unlawful

 practices pursuant to Tex. Bus. & Com. Code § 17.50(b)(2).


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        156.    The Putative Texas Class Members are entitled to reasonable legal fees pursuant to

 Tex. Bus. & Com. Code § 17.50(d).

                                             UTAH

                       UTAH CONSUMER SALES PRACTICES ACT

                            (Utah Code Ann. §§ 13-11-1 - 13-11-23)

        157.    CVS violated the Utah Consumer Sales Practices Act, Utah Code Ann. §§ 13-11-1 -

 13-11-23, with respect to persons who made Campaign Donations in Utah (the “Putative Utah Class

 Members”); specifically, CVS violated Utah Code Ann. §§ 13-11-4(1).

        158.    The Putative Utah Class Members are entitled to statutory damages of $2,000

 pursuant to Utah Code Ann. § 13-11-19(2).

        159.    The Putative Utah Class Members are entitled to an order enjoining CVS’s unlawful

 practices pursuant to Utah Code Ann. § 13-11-19(1)(b).

        160.    The Putative Utah Class Members are entitled to reasonable legal fees pursuant to

 Utah Code Ann. § 13-11-19(5)(b).

                                           VERMONT

                            VERMONT CONSUMER FRAUD ACT

                                (9 Vt. Stat. Ann. §§ 2451 - 2466c)

        161.    CVS violated the Vermont Consumer Fraud Act, 9 Vt. Stat. Ann. §§ 2451 - 2466c,

 with respect to persons who made Campaign Donations in Vermont (the “Putative Vermont Class

 Members”); specifically, CVS violated 9 Vt. Stat. Ann. § 2453(a).

        162.    The Putative Vermont Class Members are entitled to statutory damages of $2,000

 pursuant to 9 Vt. Stat. Ann. § 2461(b).

        163.    The Putative Vermont Class Members are entitled to an order enjoining CVS’s



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 unlawful practices pursuant to 9 Vt. Stat. Ann. § 2461(b).

        164.    The Putative Vermont Class Members are entitled to reasonable legal fees pursuant

 to 9 Vt. Stat. Ann. § 2461(b).

                                            VIRGINIA

                        VIRGINIA CONSUMER PROTECTION ACT

                                  (Va. Code §§ 59.1-196- 59.1-207)

        165.    CVS violated the Virginia Consumer Protection Act, Va. Code §§ 59.1-196-

 59.1-207, with respect to persons who made Campaign Donations in Virginia (the “Putative Virginia

 Class Members”); specifically, CVS violated Va. Code § 59.1-200(14).

        166.    The Putative Virginia Class Members are entitled to statutory damages of $500

 pursuant to 9 Va. Code § 59.1-204(A).

        167.    The Putative Virginia Class Members are entitled to reasonable legal fees pursuant to

 9 Va. Code § 59.1-204(B).

                                         WASHINGTON

                     WASHINGTON CONSUMER PROTECTION ACT

                        (Rev. Code Wash. Ann. §§ 19.86.010 - 19.86.920)

        168.    CVS violated the Washington Consumer Protection Act, Rev. Code Wash. Ann. §§

 19.86.010 - 19.86.920, with respect to persons who made Campaign Donations in Washington (the

 “Putative Washington Class Members”); specifically, CVS violated Rev. Code Wash. Ann. §

 19.86.020.

        169.    The Putative Washington Class Members are entitled to actual damages pursuant to

 Rev. Code Wash. Ann. § 19.86.090.

        170.    The Putative Washington Class Members are entitled to an order enjoining CVS’s



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 unlawful practices pursuant to Rev. Code Wash. Ann. § 19.86.090.

        171.    The Putative Washington Class Members are entitled to reasonable legal fees pursuant

 to Rev. Code Wash. Ann. § 19.86.090.

                                          WISCONSIN

                    WISCONSIN DECEPTIVE TRADE PRACTICES ACT

                                       (Wis. Stat. § 100.18)

        172.    CVS violated the Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100.18, with

 respect to persons who made Campaign Donations in Wisconsin (the “Putative Wisconsin Class

 Members”); specifically, CVS violated Wis. Stat. § 100.18(1).

        173.    The Putative Wisconsin Class Members are entitled to actual damages pursuant to

 Wis. Stat. § 100.18(11)(b)(2).

        174.    The Putative Wisconsin Class Members are entitled to reasonable legal fees pursuant

 to Wis. Stat. § 100.18(11)(b)(2).

                                           WYOMING

                        WYOMING CONSUMER PROTECTION ACT

                              (Wyo. Stat. §§ 40-12-101 - 40-12-114)

        175.    CVS violated the Wyoming Consumer Protection Act, Wyo. Stat. §§ 40-12-101 -

 40-12-114, with respect to persons who made Campaign Donations in Wyoming (the “Putative

 Wyoming Class Members”); specifically, CVS violated Wyo. Stat. § 40-12-105(a)(xv).

        176.    The Putative Wyoming Class Members are entitled to actual damages pursuant to

 Wyo. Stat. § 40-12-108(a).

        177.    The Putative Wyoming Class Members are entitled to reasonable legal fees pursuant

 to Wyo. Stat. § 40-12-108(b).



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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests a judgment against Defendant:

        (a)     Awarding, to Plaintiff and the other members of the Putative Class, damages as a

 result of Defendant’s fraud under the common law of the 50 States and the District of Columbia;

        (b)     Awarding, to Plaintiff and the other members of the Putative Class, the relief available

 under the Putative Class members’ respective consumer-protection statutes; and

        (c)     Awarding, to Plaintiff and the other members of the Putative Class, the costs and

 disbursements of this action, and such other and further relief as the Court deems just and proper.

 Dated: May 26, 2022

                                                               Respectfully submitted,

                                                                s/ Todd C. Bank
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